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AO 199A (Rev. l2/1lf0HND,5_(l?) Order Seiting Conditious ofRelease Page_i of_f 4 Pagcs

 

 

UNITED STATES DISTRICT COURT 2x1/306
for the ,, 7 !O

Northern District 01° Ohio ii =_

Pt“l /: 39

   
 

United States of Ainerica
v.

CESAR vELO;-ALoNso J_ CaS@NO- 11180R00464~001

 

Defendam
()RDER SETTING CONDITIONS OF RELEASE

iT lS ORDERED that the dcfendant’s release is subject to these conditions:

(l) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14l35€1.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose

'i`he defendant must appear atc

 

Place

O[`l

 

Dm‘e and 'l'ir)re

if blank, defendant will be notified of next appearance

(5) The defendant must sign an Appearance Bond, if ordered.

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ADDITIONAL CONDITIONS OF RELEASE

IT lS FUR’I`HER ORDERED that the dcfcndant’s release is subject to the conditions marked below:

(l:] ) (6) 'l`he defendant is placed in the custodyl ol`:
Person or organization
Adtlrc Ss fairly rfrrbr)re r`s rm or'g_n_rii:;rion)
City and state Tcl. No.
who agrees to (a) supervise thedei`ettdalrt. (b) use every effort to assure the defendant`s appearance at ali conrt¢proceedings, and (c) notify the court
immediately if the defendant violates a condition et` release or is no longer in the cttstodiau’s custody.

 

 

 

 

 

 

Signed: ___ _____iu_
Crrsrodr'an Dnte
( -) (7) The defendant mnst:
(l§l ) (a) Submit to supervision by and report for supervision to tire ,
telephone number , no later than .

 

(i:l ) (b) continue or actively seek employment and shall comply with the Northern Distriet ol`()hio Defendant/Ot`r`ender Employnrent Policy
which may include participation in training, education, counseling, and/or daiiyjob search as directed by the pretrial services and
probation ol`ticer. Il`not in compliance with the condition of supervision requiring full-time employment at a lawful occupation, the
defendant may be directed to perform up to 20 hours ot`conununity service per week until employed, as approved or directed by the
pretrial services and probation ofl'rcer.

(I:l ) (c) continue or start an education prograrn.

( I:I ) (d) surrender any passport to:

( m ) (c) not obtain a passport or other international travel document

(E } {t) abide by the following restrictions on travel restricted to the Northern Distriet of
Ohio and/or

 

 

 

{lj ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including:

 

 

(I:l ) (h) Undcrgo a psychiatric/mental hcafth evaluation andfor counseling as directed by l’retria] Servlces. Take all medication as prescribed “NW

 

( [:l ) (i) return to custody each mm ) v ‘_ at _o’clock after being ieleased at _ 4_ o’cloek for etnployrncnt, schooling,_
or the following purposes:

 

 

( I:] ) (i) lmaintain residence at aiialf`way house or community corrections center, as tire pretrial services-office or supervising oli`ic)e'r considers
necessary.

(i:i ) (k) not possess a tircann, destructive device, or other wcapon.

(l:i ) (t) not use alcohol ( g )at all( [[ )excessively.

(l:l ) (m) not usc or unlawfully possess a narcotic drug or other controlled substances defined in 2! U.S.C. § 802, unless prescribed by a licensed
medical practitioner.

(I:I ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising ol`ticer. 'l`esting may be used with
random frequency and may include urine testing, the wearing ol`a sweat pateb, a remote alcohol testing systeln, and/or any form of
prohibited substance screening or testing.

(l:] ) (O) l’articipate in a program ot` inpatient or outpatient substance abuse therapy and counseling if deemed advisable by the pretrial services
office or supervising ofiicer, Ret`rain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and
accuracy ol`any prohibited substance testing which is required as a condition ot`release.

(l:l ) (p} report as soon as possible, to the pretrial services oilice or supervising otiicer, every contact with law enforcement personnc], including
arrests, questioning, or trailic stops.
(l:l ) (q) avoid all contaet, directly or indirectly, with codefendants

(l:l) (1')

 

 

 

 

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§participate in one ofthe following location restriction programs and comply with its requirements as directed.

l:l Participatc in thc Cnrl'e\v component ofthe location monitoring program and abide by all requirements of the program which will include:
l:ll,ocation monitoring technology at the discretion ofthe oflicer
i:lRadio l"retgnency tRl~`) lvlonitoring
Cll’assive GPS Monitoriug
{]Activc GPS Monitoring (to include hybrid GPS}

You shall pay the cost of the program based upon your ability to pay as determined by the pretrial services ollice or supervising ollicer.
Curt`ew: the defendant is restricted to their residence every day from tc, or as directed by l’retrial Services.

 

leartieipate in the Home Dctention component of the location monitoring program and abide by all Requirements of the program which
will include:

l:ll.ocation monitoring technology at the discretion of the officer

URadio Frequency (Rl") r\'lonitoring

l.__lPassive GPS Monitoring

lective Gl’S Monitoring (to include hybrid GPS)

You shall pay thc cost of the program based upon your ability to pay as determined by the pretrial services oflice or supervising oliicer.
Home l)etention: 'l`he defendant is restricted to their residence at all times except for employment education; religious services; medical,
substance abusc. or mental health treatmcnt; attorney visits; court appearances; court-ordered obligations; or other activities as pre-approved
by l’rctrial Serviccs.

Participate in the Home lncnrccrution component of the location monitoring program and abide by all requirements oftlte program which
will include:
,l`»§l.ocation monitoring technology at the discretion ofthe oliicer
l:iRadio Frequency (RF) Monltoring
l:ll’assivc GI’S Monitoring
l:lActive GI*S Monitoring (to include hybrid GI‘S)

You shall pay the cost ofthc program based upon your ability to pay as determined by the pretrial services office or supervising otliccr.
llome lncarceration: The defendant is restricted to their residence at all times except for medical needs or treatmcnt. religious Scr\'lCCS.
attorney visits, and court appearances pre-approved by Pretrial Services.

l:lPartieipate in Stantl Aloue r\'loniloring - The defendant shall be monitored by the form of location monitoring indicated below which
shall be utilized for the purpose of verifying compliance with any court imposed condition of supervision.

l:lLocatior\ monitoring technology at the discretion of the ollicer

l:lRadio l"requency (Rl") Monitoring

l:il’assivc GPS lvlonitoring

l:iActive GPS Monitoring (to include hybrid GPS)

You shall pay the costs of participation in the location monitoring program, based upon your ability to pay as directed by the pretrial
services tmd probation ol`liccr.

|:lparticipate in cognitive behavioral program as instructed by the pretrial services and probation otticer.

l;lProlribition on r\cccss to Cumputcrr'lnlcrnet: The defendant is prohibited from accessing any computer, Intcruet Service l’ro\'ider, bulletin board
system or any other public or private computer network or the service at any location * (including employment or education) without prior written
approval of the U.S. Pretrial Scrviecs and Probation Ol`tiee ortho Court. Any approval shall be subject to any conditions set by the U.S. l’retrial Services
and Probation Ollice or the Cou:t with respect to that approval. Any computer found is subject to seizure and/or scarch. A search will not be conducted
prior to approval ol` the Court.

l:lCorrrputcr/Intcrnct Acccss Pcrmitted: 'l`he defendant shall consent to the U.S. l’retrial Services and Prol)ation Ofl'rce conducting periodic
unannounced examinations ol` his/her computer systcm(s), which may include retrieval and copying of all memory from hardware/software andfor
removal ol`such system(s) l`or the purpose ofconducting a more thorough inspection and will consent to having installed on his/her computer(s}, at
his/her expense, any hardware/software to monitor his/her computer use or prevent access to particular materialsl The defendant hereby consents to
periodic inspection ot`any such installed bardwarefsoftware to insure it is functioning properly. 'l`he defendant shall provide the U.S. Pretrial Services
and l‘robation Otiice with accurate information about his/her entire computer system (hardwarclsoliwarc); all passwords used by himfhcr; and hisr‘lrcr
lnternet Service Provider(s); and will abide by all rules ofthe Computer llestriction and Monitoring l’rogram.

DISTRIBUTION: COUR'I` DEFENDANT PRETRIALSERVICB U.S.A'l"TORNEY U.S. MARSHAL

 

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l:lComputcr/lnternet Restrictions: The defendant is prohibited from accessing any on-line computer service at any location (including employment
or education) without prior written approval ot`the U.S. l’retrial Services and Probation Ol`liee or the Court. This includes any lnternet Servicc Provider,
bulletin board system or any other public or private computer network. Any approval shall be subject to conditions set by the U.S. Pretrial Services and
l’robation Ottice or the Court with respect to that approval.

'l`he defendant shall consent to the U.S. l’retrial Serviees and l’robation Otticc conducting periodic unannounced examinations of his/her computer
system(s), which may include retrieval and copying of all memory from hardware/software and/or removal of such systcm(s) for the purpose of
conducting a more thorough inspection and will consent to having installed on his/her computer(s), at the defendant's expense, any hardware/software
to monitor his/her computer use or prevent access to particular materials The defendant hereby consents to periodic inspection of any such installed
hardware/software to insure it is functioning properly.

'l’he defendant shall provide the U.S. Prctrial Scrvices and Probation Oftice with accurate information about the defendant's entire computer system
(hardware/sohware); all passwords used by himfher; and the defendant's lnternet Service l’rovider(s}; and will abide by all rules of the Computer
Restriction and Monitoring l’rogram.

l:lNo Contact with blinm's: The defendant shall not associate or have verbal, \vritten, telephone, or electronic communication with any person under
the age of 18 except in the presence of the parent or legal guardian of said minor. 'I`his provision does not encompass persons under the age of 18, such
as waiters, cashiers, ticket vendors, etc., with whom the defendant must deal in order to obtain ordinary and usual commercial services

The defendant shall not frequent or loiter within 1000 feet ol`schoolyards, playgrounds, theme parks, arcades, swimming pools, skating rinlrs, toy stores
and other places vvhere persons under the age of lS play, congregate, or gather, without the prior express written approval of the U.S. Pretrial Services
and I’robation Ot`tice.

'lhe defendant shall not seel\" obtain or maintain any employment, volunteer work, church or recreational activities involving minors (persons under
the age of 13) in any way without the prior express written approval ofthe U.S. Pretrial Services and l’robation Oflicc.

T() THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANC'I`I()NS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation ol` your
releasc, an order ol`detention, a forfeiture ol`any bond, and a prosecution for contempt of court and could result in impriso nment, a line, or both.

ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that l am the defendant in this case and that l am aware of the conditions of release. l promise to obey all conditions of release,
to appear as directerl, and surrender to serve any sentence imposed. am aware ofthe p nalties and sanctions set forth above.

/a,aa¢<?/ l F~é/ %,a;z£»
Defcndant s Signat:/:/re

%rre§r/r»// til/fch "`/‘rd ila dead

City and State: Telephone:

Directions to Unitecl States Marshal

l:}'l'he defendant is ORi`)ERE`.D released after processing

HThe Unitcd Statcs Marshal is ORDERED to keep the defendant in custody until notified by the clerk orjudge that the

defendant has posted bond and/or complied with all other conditions for release. lf still in custody, the defendant must be produced before the
appropriate_iudge at the time and place specified

hint alva%c.-

Judicial Ollicer’s Signature

James S. Gwln, United States District dodge

l’rinted name and title

 

 

 

I)lS'l`RlBU'l`ION: C()URT DEFENDANT PRETR!ALSERVICE U.S.A'I"l`ORNEY U.S. MARS|IAL

 

